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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     LIZBETH LUZ ROSALES, et al.,                         Case No. 21-cv-00261-EMC
                                   8                     Plaintiffs,
                                                                                              ORDER GRANTING DEFENDANT’S
                                   9              v.                                          MOTION TO TRANSFER
                                  10     JOSEPH R. BIDEN, JR. et al.,                         Docket No. 108
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is the Government’s Motion to Dismiss or Alternatively to Transfer

                                  14   (Docket No. 108) in which the Government argues that venue in the U.S. District Court for the

                                  15   Northern District of California is not proper under 28 U.S.C. § 1391(e)(1)(C). Mot. at 8-10. In

                                  16   their Opposition brief (Docket No. 119), Plaintiffs concede that venue is no longer proper in this

                                  17   district, and they request that the Court transfer the instant case to the U.S. District Court for the

                                  18   District of Columbia. Opp. at 7-9. Accordingly, the Court GRANTS the Government’s Motion

                                  19   to Transfer and transfers the instant case to the U.S. District Court for the District of Columbia.

                                  20   The Court will not rule on Plaintiffs’ pending motions for Class Certification and Preliminary

                                  21   Injunctive Relief because proper venue is a threshold requirement for the Court to rule on the

                                  22   merits of those two motions.

                                  23          This order disposes of Docket No. 108.

                                  24          IT IS SO ORDERED.

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                                  26   Dated: July 13, 2021

                                  27                                                     ______________________________________
                                                                                          EDWARD M. CHEN
                                  28                                                      United States District Judge
